OPINION — AG — THE DIRECTOR OF STATE FINANCE IS A PUBLIC OFFICER WITHIN THE PURVIEW OF ARTICLE V, SECTION 23 OF THE OKLAHOMA CONSTITUTION, AND, ALTHOUGH SAID PROVISION RENDERS MEMBER OF THE OKLAHOMA LEGISLATURE INELIGIBLE FOR APPOINTMENT TO SAID OFFICE DURING THE LEGISLATIVE TERM FOR WHICH THEY WERE ELECTED, SUCH INELIGIBILITY EXPIRES WITH SUCH LEGISLATIVE TERM; AND YOU ARE AUTHORIZED TO APPROVE THE PAYMENT OF SALARY TO MR. CARL WILLIAMS, THE PRESENT DIRECTOR OF STATE FINANCE, NOTWITHSTANDING MR. WILLIAMS WAS A MEMBER OF THE TWENTY NINTH (1963) OKLAHOMA LEGISLATURE. CITE:  62 O.S. 1961 41.1 — 41.38 [62-41.1] — [62-41.38], 21 O.S. 1961 344 [21-344], ARTICLE V, SECTION 9, ARTICLE V, SECTION 10 (HARVEY CODY)